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 6                        IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
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 9   Manuel de Jesus Ortega Melendres, on behalf        No. CV-07-02513-PHX-GMS
     of himself and all others similarly situated; et
10   al.
                                                        ORDER
11                   Plaintiffs,
12   and
13   United States of America,
14
                   Plaintiff-Intervenor,
15   v.
16   Paul Penzone, in his official capacity as
17   Sheriff of Maricopa County, Arizona; et al.

18                   Defendants.

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21            The Court met with the parties on June 3, 2021 for oral argument on the Motion for
22   Order to Show Cause, (Doc. 2610), and to discuss the other pending motions, (Docs. 2607,
23   2647).
24            IT IS HEREBY ORDERED that the parties shall have until June 10, 2021 to
25   confer and submit a report stipulating whether a show cause hearing, (Doc. 2610), will
26   focus only on contempt remedies or will also encompass whether all reasonable steps were
27   taken to comply with the Court’s Order, and what discovery the parties request.
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 1          IT IS FURTHER ORDERED that the Court will meet with the parties’ experts
 2   and the Monitor’s experts to address the Joint Motion to Enforce Paragraph 70.
 3   (Doc. 2607.) The parties will not be allowed to depose the experts prior to this meeting.
 4   The parties shall confer and submit their experts’ joint availabilities in July, August, and
 5   September 2021 for this meeting no later than June 17, 2021. Thereafter, the Court will
 6   schedule the meeting on the Joint Motion to Enforce Paragraph 70, (Doc. 2607), and the
 7   show cause hearing, (Doc. 2610).
 8          IT IS FURTHER ORDERED that briefing for the Motion to Modify Second
 9   Order, (Doc. 2647), is suspended.
10          Dated this 4th day of June, 2021.
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